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                                                June 7, 2021


VIA ECF
Hon. Joanna Seybert
United States District Judge
Alfonse M. D’Amato Federal Building
United States District Court
100 Federal Plaza, Courtroom 1030
Central Islip, NY 11722

            Re:      Stewart v. Hain Celestial Group, Inc.,
                     Case No. 2:21-cv-00678-JS-AYS

Dear Judge Seybert:

        I am writing to request the withdrawal of my appearance for Plaintiffs Sally Bredberg and
Rebecca Bromberg and further request removal from the Court’s electronic filing system in the
above-captioned action. I am no longer with the firm Wolf Haldenstein Adler Freeman & Herz LLP
as of May 28, 2021. Matthew M. Guiney and Carl V. Malmstrom (pro hac vice forthcoming) of Wolf
Haldenstein Adler Freeman & Herz LLP will remain counsel to plaintiffs in this action. Accordingly,
no parties would be prejudiced if this request is granted. Thank you for your attention to this matter.

                                           Respectfully submitted,

                                           WOLF HALDENSTEIN ADLER
                                           FREEMAN & HERZ LLP

                                           s/ Kevin G. Cooper
                                           Kevin G. Cooper
                                           270 Madison Avenue
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                                           Counsel for Plaintiffs Sally Bredberg and Rebecca
                                           Bromberg

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